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lN THE COURT OF COMMON PLEAS
HAMILTON COUNTY, OHIO

CIVIL DIVISION
MARY ZUREICK _
7515 US Highway 42, Apt. #5
Florence, KY 41042
: CaseNo. A140050]
Plaintiff, ‘.
Judge
COMPLAINT
& JURY DEMAND
v.
ABUBAKAR ATIQ DURRANI, M.D.
PAKISTAN
(Serve via Hague Convention)
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FLORENCE, KY 41042 . ':`.'f§z‘ ,,
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Serve: CT Corporation System REGULAR M:MLW § -O
1300 East 9th St. Ste 1010 :

Cleve]and, OH 44114
; .‘._(Serve via Certif`led mail)

And

JOURNEY LITE OF ClNClNNATI, LLC::
10475 READING RD., SUITE 115

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1300 EAST NINTH STREET
CLEVELAND, OI~I 44114 : ~\ _
(Serve via Certif`led mail) :

Defendants.

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Comes now Plaintifi`, Mary Zureick, and files this Complaint and jury demand,

stating as follows:

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FACTUAL ALLEGATIONS OF PLAIN'I'lFF

At all times relevant_. Mar_v Zureick (“Plaintiff”) was a resident of and domiciled
in the State of Kentucky.

At all times relevant, Defendant Dr. Abubakar Atiq Durrani (“Dr. Durrani”) was
licensed to and did in fact practice medicine in the State othio.

At all times relevant, Center for Advanced Spine Technologies, Inc. (“CAST")
was licensed to and did in fact perform medical Services in the State of Ohio and
Kentucky, and was and is a corporation authorized to transact business in the State of
Ohio and Kentucky.

At all times relevant, Journey Lite of Cincinnati, LLC ("Journey Lite") was a
Delaware corporation transacting business and performing and managing medical
Services in the State of Ohio and held itself out to the public, and specifically to
Plaintiff as a center providing competent and qualified medical and nursing services,
care and treatment by and through its physicians, physicians in training, residents,
nurses, agents, ostensible agents, servants and/or employees

'l` he amount in controversy exceeds the jurisdictional threshold of this Court.

T he subject matter of the Complaint arises out of medical treatment by the
Defendants in Hamilton County, Ohio. This Court is thus the proper venue to grant
Plaintiff the relief she seeks.

ln July 0f2012, Plaintiff began experiencing pain in her groin and right knee for

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Which she sought treatment from her primary care physician and an orthopedic
specialist

After about live weeks of aquatic therapy, Plaintiff’s pain level did not decrease,
and she was therefore directed to consult a spine surgeon

On January 15, 2013, Plaintiff attended an initial consultation with Dr. Durrani at
CAST.

During this consultation, Dr. Durrani reviewed Plaintiff" s recent MRI and
immediately recommended a two-part operation consisting of a lumbar laminectomy
at Ll -2 and extension of the Ll -2 fusion, as well as a lumbar hemilaminectomy,
foraminolomy, and decompression at L3-4 and LS-Sl bilaterally.

Dr. Durrani’s interpretation of Piaintiff’s spinal MRI on which he based his
decision to operate on Plaintiff is Signiftcantly different than that of the radiologist
Speciflcally, unlike Dr. Durrani, the radiologist found neither a disk hemiation nor
“very significant” foraminal stenosis at L5-S 1.

Plaintiff completed a CT scan on February 13, 201 3, ordered by Dr. Durrani.
Once again, Dr. Durrani’s interpretation of this scan was much different than the
radiologist’s, in that Dr. Durrani found her condition to be much worse.

On March l, 2013, Dr. Durrani performed a lumbar laminectomy at L1-2,
bilateral foraminotomy at Ll-Z, posterior spine instrumentation and fusion at Ll-Z,
and a posterior Spine instrumentation at L1-2 with extension of fusion.

Additionally, during the March 1. 2013 surgery, Dr. Durrani removed an L2
screw, however, neither the CT scan nor the MRI indicated a loose screw.

Upon information and belief, during this surgery, Dr. Durrani used Infuse/BMP-2

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or Puregen, without Plaintiff"s knowledge or consent, causing Plaintiff hann.
16. Following the surgery, to Plaintiff" s surprise, the pain in her back, groin, and knee
exacerbated
l'/'. Plaintiff continued treating with Dr. Durrani and CAST untii her initial post-
operative evaluation on March 12, 2013.
18. Upon information and belief, the surgery performed by Dr. Durrani was medically
unnecessary and/or improperly performed
19. AS a direct and proximate result ofDr. Durrani’s treatment, Plaintiff has suffered
harm.
lNFUSE/BMP-2
20. Dr. Durrani oftentimes used Bi\/[P-Z “off-label” when performing surgeries.
21. BMP-2 is manufactured, marketed, sold and distributed by Medtronic under the
trade name “lnfuse.”
22. Dr. Durrani is a consultant for Medtronic.
23. Defendants did not inform Plaintiff of Durrani's financial interest, conflicts of
interest or Consulting arrangement with Medtronic.
24. Medtronic, provided in writing to Dr. Durrani and CAST the approved uses for
BMP-2, the substance also referred to as lnfuse, which is a bone morphogenic protein,
used as an artificial substitute for bone grafting in spine surgeries.
25. BMP-2 is not approved by the Food and Drug Administration for use in the
cervical and thoracic spine.
26. BMP-2 is neither safe nor approved for use on children less than twenty one (21)

years of age.

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27. F or use in spinal surgery, BMP-Q/Infuse is approved by the FDA for a limited
procedure, performed on a limited area of the spine, using specific components
Specifrcally, the FDA approved Infilse for one procedure of the spine: Anterior Lumbar
lnterbody Fusion (“ALIF" or "Anterior" approach); and only in one area of the spine: L4
to Sl; and only when used in conjunction with FDA-Approved Components: LT-CAGE
Lumbar Tapered Fusion Device Component (“LT-CAGE”)

28. Use of infuse in cervical or thoracic surgery, or use through the back (posterior),
or Side (lateral), or on areas ofthe spine outside ofthe L4-Sl region (e.g., the cervical
spine), or using components other than or in addition to the LT-CAGE is not approved by
the FDA, and thus such procedures and/or use of non-FDA approved componentry is
termed “off-label.”

29. When used off-label, Infuse frequently causes excessive or uncontrolled (also
referred to as “ectopic” or “exuberant”) bone growth on or around the spinal cord. When
nerves are compressed by such excessive bone growth, a patient can experience, among
other adverse events, intractable pain, paralysis, spasms, and cramps in limbs.

30. The product packaging for BMP-Q/Infuse indicates it causes an increased risk of
cancer four (4) times greater than other bone graft altematives.

31. Dr. Durrani, CAST staff and employees, and Journey Lite personnel did not
disclose to Plaintiff their intent to use BMP-Z/Infuse, and further, did not disclose their
intent to use BMP-Z/lnfuse in a way not approved by the FDA.

32. Dr. Durrani used Bl\/IP-Z in Plaintiff in manners not approved by Medtronic or the

FDA.

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33. Plaintiff was not informed by Dr. Durrani that Dr. Durrani used Infuse/BMP-Z in

their surgery.

34. Plaintiff would not have allowed BMP-2 to be used by Dr. Durrani in their

surgery(ies) in a manner that was not approved by the FDA or Medtronic, Infuse/BMP-

2’s manufacturer. 5

35. Plaintiff would not have consented to the use of BMP-Z in her body if informed of

the risks by Dr, Durrani, CAST staff and employees, or any Journey Lite personnel.

36. The written informed consent of Dr. Durrani and CAST signed by Plaintiff lacked

the disclosure of Infuse/BMP-Z’s use in their procedure(s).

37. Plaintiff never received a verbal disclosure of Infuse/BMP-Z from Dr. Durrani,

CAST staff and employees, or any Journey Lite personnel.

38. Medtronic specifically required Infuse/BMP-2 only be used in "skeletally mature

patients” with degenerative disc disease.

39. Medtronic required at least six (6) months of non-operative treatment prior to use

oflnfuse/BMP-Q.

40. Dr. Durrani regularly used Infuse/BMP-Z without this six (6) month non-

operative treatment

41. Medtronic required BMP-2 always be used in conjunction with a metal LT cage.

42. Dr. Durrani regularly used BMP-Z without a proper LT cage in his surgeries.
PUREGEN

43. Dr. Durrani oftentimes used Puregen when performing surgeries.

44. Puregen is a product produced by Alphatec Spine.

45. Dr. Durrani was and is a paid consultant for Alphatec Spine.

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46. Dr. Durrani has an ownership stake in the Alphatec Spine.

47, Puregen has never been approved by the FDA for any human use.

48. Puregen is now removed from the market for any use.

49. Dr. Durrani used the product Puregen as bone graft substitute similar to
Infuse/BMP-Z during spinal surgeries.

50. Dr. Durrani, CAST staff and employees and Journey Lite personnel did not
disclose their intent to use Puregen, nor did they inform Plaintiff that it was a product that
was not approved by the FDA for human use.

51. Dr. Durrani used Puregen in Plaintiff in manners not approved by the FDA.

52. Plaintiff was not informed by Dr. Durrani, CAST staff and employees or any
Journey Lite personnel that Dr. Durrani used Puregen in their surgery.

53. Plaintiff would not have allowed Puregen to be used by Dr. Durrani in their
surgery(ies) in a manner that was not approved by the FDA.

54. Plaintiff would not have consented to the use of Puregen in their body if informed
of the risks by Dr. Durrani, CAST staff and employees, or any Journey Lite personnel.
55. The written informed consent of Dr. Durrani and CAST signed by Plaintiff lacked
the disclosure of Puregen’s use in their procedure(s).

56. Plaintiff never received a verbal disclosure of Puregen from Dr. Durrani, CAST

staff and employees, or any Journey Lite personnel.

DR. DURRANI COUNTS:
COUNT I: NEGLIGENCE

57. Defendant Dr. Durrani owed his patient, Plaintiff, the duty to exercise the degree

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of skill, care, and diligence an ordinarily prudent health care provider would have
exercised under like or similar circumstances

Defendant Dr. Durrani breached his duty by failing to exercise the requisite
degree of skill, care and diligence that an ordinarily prudent health care provider
would have exercised under same or similar circumstances through_. among other
things, negligent diagnosis, medical mismanagement and mistreatment of Plaintiff,
including but not limited to improper selection for surgery, improper performance of
the surgery, and improper follow-up care addressing a patient’s concerns

As a direct and proximate result of the aforementioned negligence and deviation
from the standard of care on the part of the Defendant Dr. Durrani, Plaintiff sustained
severe and grievous injuries, prolonged pain and suffering, emotional distress,
humiliation, discomfort, loss of enjoyment of life, and loss of ability to perform usual
and customary activities and incurred substantial medical expenses and treatment

COUNT II: BATTERY

Dr. Durrani committed battery against Plaintiff by performing a surgery that was
unnecessary, contraindicated for Plaintiff`s medical condition, and for which he did
not properly obtain informed consent, inter alia, by using BMP-Z, PureGen and/or
Baxano in ways and for surgeries not approved by the FDA and medical community,
and by the failure to provide this information to Plaintiff,
Plaintiff would not have agreed to the surgeries if they knew the surgery(ies)
was/were unnecessary, not approved by the FDA, and not indicated
As a direct and proximate result of the aforementioned battery by Dr. Durrani,

Plaintiff sustained severe and grievous injuries, prolonged pain and suffering,

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emotional distress, humiliation, discomfort, loss of enjoyment of life, loss of the
ability to perform usual and customary activities, and incurred substantial medical
expenses and treatment
COUNT III: LACK OF INFORMED C()NSENT

The informed consent forms from Dr. Durrani and CAST which they required
Plaintiff to sign failed to fully cover all the information necessary and required for the
procedures and surgical procedures performed by Dr. Durrani. Dr. Durrani and
CAST each required an informed consent release.
ln addition, no one verbally informed Plaintiff of the information and risks required
for informed consent at the time of or before Plaintiff`s surgery.
Dr. Durrani failed to-infortn Plaintiff of material risks and dangers inherent or
potentially involved with their surgery(ies) and procedures
Plaintiff subsequently developed severe and grievous injuries as a direct and
proximate result of lack of informed consent.
Had Plaintiff been appropriately informed of the need or lack of need for surgery and
other procedures and the risks of the procedures, Plaintiff would not have undergone
the Surgery or procedures

COUNT IV: INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
Dr. Durrani’s conduct as described above was intentional and reckless
lt is outrageous and offends against the generally accepted standards of morality.
lt was the proximate and actual cause of Plaintiff"s psychological injuries, emotional

injuries, mental anguish, suffering, and distress

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Plaintiff suffered severe distress and anguish so serious and of a nature that no
reasonable man or woman would be expected to endure.

COUNT V: FRAUD
Dr. Durrani made material, false representations to Plaintiff and their insurance
company related to Plaintiff’s treatment including: stating the surgeries were
necessary, that Dr. Durrani “could fix” Plaintiff, that more conservative treatment was
unnecessary and futile, that the surgery would be simple or was “no big deal”, that
Plaintiff would be walking normally within days after each surgery, that the
procedures were medically necessary and accurately reported on the billing to the
insurance company, that the surgery was successful, and that Plaintiff was medically
stable and ready to be discharged
Dr. Durrani also concealed the potential use of Infuse/BMP-2 and/or Puregen in
Plaintiff"s surgery when he had a duty to disclose to Plaintiff his planned use of the
same.
These misrepresentations and/or concealments were material to Plaintiff because they

directly induced Plaintiff to undergo her surgery.

. Dr. Durrani knew or should have known such representations were false, and/or made

the misrepresentations with utter disregard and recklessness as to their truth that
knowledge of their falsity may be inferred

Dr. Durrani made the misrepresentations both before, during and after the
surgery(ies) with the intent of misleading Plaintiff and their insurance company into
relying upon them. Specifrcally, the misrepresentations were made to induce payment

by the insurance company, without which Dr. Durrani would not have performed the

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surgery(ies), and to induce Plaintiff to undergo the surgery(ies) without regard to
medical necessity and only for the purpose of receiving payment.
The misrepresentations and/or concealments were made during Plaintiff`s office visits
at Dr. Durrani’s CAST offices.
Plaintiff wasjustified in their reliance on the misrepresentations because a patient has
a right to trust their doctor and that the facility is overseeing the doctor to ensure the
patients of that doctor can trust the facility.
As a direct and proximate result of the aforementioned fraud, Plaintiff did undergo
surgery(ies) which were paid for in whole or in part by their insurance company, and
suffered severe and grievous injuries, paralysis, new and different pain, prolonged
pain and suffering, emotional distress, humiliation, discomfort, loss of enjoyment of
life, loss of ability to perform usual and customary activities, and incurred substantial
medical expenses and treatment

COUNT VI: SPOLIATION OF EVIDENCE
Dr. Durrani willfully altered, destroyed, delayed, hid, modified and/or spoiled
(“spoiled”) Plaintift"s records, billing records, paperwork and related evidence.
Dr. Durrani spoiled evidence with knowledge that there was pending or probable
litigation involving Plaintiff.
Dr. Durrani’s conduct was designed to disrupt Plaintiff’ s potential and/or actual case,
and did in fact and proximately cause disruption, damages and harm to Plaintiff

CAS'I` COUNTS:

COUNT I: VICARIOUS LIABILITY

83. At all times relevant, Defendant Dr. Durrani was an agent, and/or employee of CAST.

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Dr. Durrani is in fact, the owner of CAST.
Defendant Dr. Durrani was performing within the scope of his employment with
CAST during the care and treatment of Plaintiff.
Defendant CAST is responsible for harm caused by acts of its employees for conduct
that was within the scope of employment under the theory of respondeat superior.
Defendant CAST is vicariously liable for the acts of Defendant Dr. Durrani alleged in
this Complaint including all of the counts asserted against Dr. Durrani directly.
As a direct and proximate result of Defendant CAST’s acts and omissions, Plaintiff
sustained severe and grievous injuries, prolonged pain and suffering, emotional
distreSS, humiliation, discomfort, loss of enjoyment oflife, and loss of ability to
perform usual and customary activities and incurred substantial medical expenses and
treatment

COUNT II: NEGLIGENT HIRING, RETENTION, SUPERV[SION &

CREDENT[ALING

CAST provided Dr. Durrani, inter alia, financial support, control, medical facilities,
billing and insurance payment support, staff support, medicines, and tangible items
for use on patients
CAST and Dr. Durrani participated in experiments using BMP-2 and/or Puregen bone
graft on patients, including Plaintiff, without obtaining proper informed consent
thereby causing harm to Plaintiff.
CAST breached its duty to Plaintiff, inter alia, by not controlling the actions of Dr.
Durrani and the doctors, nurses, staff, and those with privileges, during the medical

treatment of Plaintiff at CAST.

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The Safe Medical Device Act required entities such as CAS'l` to report serious
injuries, serious illnesses, and deaths related to failed medical devices to the FDA and
the manufacturer; this was never done.

Such disregard for and violations of federal law represents strong evidence that
CAST negligently hired, retained, supervised and granted privileges to Dr. Durrani.
As a direct and proximate result of the acts and omissions herein described, including
but not limited to failure to properly supervise medical treatment by Dr. Durrani,
Plaintiff sustained severe and grievous injuries, prolonged pain and suffering,
emotional distress, humiliation, discomfort, loss of enjoyment oflife, loss ofthe
ability to perform usual and customary activities, and incurred substantial medical
expenses and treatmentl

COUNT lIl: SPOLIATlON ()F EVIDENCE
CAST, through its agents and employees, willfully altered, destroyed, delayed, hid,
modified and/or spoiled (“Spoiied”) Plaintiff`s records, billing records, paperwork and
related evidence.
CAST, through its agents and employees, spoiled evidence with knowledge that there
Was pending or probable litigation involving Plaintiff.
CAST’s conduct was designed to disrupt Plaintifi"s potential and/or actual case, and
did in fact and proximately cause disruption, damages and harm to Plaintiff.
JOUNREY LITE OF CINCINNATI, LLC COUNTS:
COUNT I: VICARIOUS LIABILITY
At all times relevant, Defendant Dr. Durrani was an agent, apparent agent, and/or

employee of Journey Lite.

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99. Dr. Durrani is in fact, a partial owner or shareholder of Journey Lite.

100. Defendant Dr. Durrani was performing within the scope of his agency, real or
apparent with Journey Lite during the care and treatment of Plaintiff.

101. Defendant Journey Lite is responsible for harm caused by acts of its agents and
apparent agents for conduct that was within the scope of agency under the theory of
respondeat superior.

102. Defendant Journey Lite is vicariously liable for the acts of Defendant Dr. Durrani
alleged in this Complaint including all of the counts asserted against Dr. Durrani
directly.

103. As a direct and proximate result of Defendant Journey Lite’s acts and omissions,
Plaintiff sustained severe and grievous injuries, prolonged pain and suffering,
emotional distress, humiliation, discomfort loss of enjoyment of life, and loss of
ability to perform usual and customary activities and incurred substantial medical
expenses and treatment

COUNT II: NEGLIGENT CREDENTIALING & RETENTION

104. As described in the Counts asserted directly against Dr. Durrani, the actions of Dr.

Durrani with respect to Plaintiff constitute physician negligence and medical

malpractice
105. Journey Lite negligently credentialed and retained Dr. Durrani as a credentialed
physician by:
a. Allowing Dr. Durrani to repeatedly violate the Journey Lite bylaws with it’s

full knowledge of the same;

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b. Failing to adequately review, look into, and otherwise investigate Dr.
Durrani’s educational background, work history and peer reviews when he
applied for privileges at Journey Lite;

c. lgnoring complaints about Dr. Durrani’s treatment of patients reported to it
by Journey Lite staff, Dr. Durrani’s patients and by others;

d. lgnoring Dr. Durrani’s previous privilege terminations from other Cincinnati
area hospitals, including Children’s Hospital, Deaconess Hospital, Good
Samaritan Hospital, Christ Hospital and West Chester Hospital.

106. The Safe Medical Device Act required entities such as Journey Lite to report
serious injuries, serious illnesses, and deaths related to failed medical devices to the
FDA and the manufacturer; this was never done.

107. Such disregard for and violations of federal law represents strong evidence that
Journey Lite negligently granted and retained privileges for Dr. Durrani.

108. As a direct and proximate result of the negligent credentialing and retention of Dr.
Durrani, Plaintiff sustained severe and grievous injuries, prolonged pain and
suffering, emotional distress, humiliation, discomfort, loss of enjoyment of life, and
loss of ability to perform usual and customary activities and incurred substantial
medical expenses and treatment that Plaintiff would not otherwise have incurred had

Dr. Durrani not been credentialed by Journey Lite.

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COUNT lll: FRAUD

109. Journey Lite sent out billing to Plaintiff at their home following their surgery(ies)
at Journey Lite.

l 10. The exact dates these medical bills were sent out are reflected in those medical
bills.

l_1 l. These bills constituted affirmative representations by Journey Lite that the
charges related to Plaintiff's surgery were medically appropriate and properly
documented

l 12. The bills were sent with the knowledge of.lourney Lite that in fact Plaintiffs
surgery was not appropriately billed and documented and that the service rendered at
Journey Lite associated with Dr. Durrani was not appropriate

l 13. The bills sent by Journey Lite to Plaintiff’s falsely represented that Plaintiff" S
surgery was appropriately indicated, performed and medically necessary in contra-
indication of the standard of care.

l 14. Plaintiff relied on the facility holding Dr. Durrani out as a surgeon and allowing
him to perfomt surgeries at its health care facility as assurance the facility was
overseeing Dr. Durrani, vouching for his surgical abilities, and further was
appropriately billing Plaintiff for Journey Lite’s services in association with Dr.
Durrani’s surgery(ies).

l 15. As a direct and proximate result of this reliance on the billing of Journey Lite,

Plaintiff incurred medical bills that they otherwise would not have incurred.

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l 16. Journey Lite also either concealed from Plaintiff that Infuse/BMP-2 or Puregen
would be used in Plaintiff"s surgery, or misrepresented to Plaintiff the nature and
necessity of the surgery and the particular risks that were involved therein.

l 17. Journey Lite’s concealments and misrepresentations regarding 1nfuse/BMP-2 or
Puregen and the nature, necessity, and risks of Plaintiff"s surgery/ies were material
facts.

118. Because of its superior position and professional role as a medical service
provider, Journey Lite had a duty to disclose these material facts to Plaintiff and a
duty to refrain from misrepresenting such material facts to Plaintiff

l 19. Journey Lite intentionally concealed and/or misrepresented said material facts
with the intent to defraud Plaintiff in order to induce Plaintiff to undergo the surgery,
and thereby profited from the surgeries and procedures Dr. Durrani performed on
Plaintiff at Journey Lite.

120. Plaintiff was unaware that Infuse/Bl\/IP-Z or Puregen would be used in Plaintiff" s
surgery and therefore, was unaware of the health risks of lnfuse/BMP-2 or Puregen’s
use in Plaintiff"s spine.

121. Had Plaintiff known before Plaintiff’s surgery/ies that Infuse/BMP-2 or Puregen
would be used in Plaintiff`s spine and informed ofthe specific, harmful risks flowing
therefrom, Plaintiff would not have undergone the surger/ies with Dr. Durrani at
Journey Lite.

122. As a direct and proximate result of Journey Lites’ concealments and/or

misrepresentations regarding infuse/BMP-2 or Puregen, and the nature and necessity

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of the surgery/ies performed by Dr. Durrani at Journey Lite, Plaintiff sustained, inter
aiia, economic, and non-economic (including physical, emotional) damages
COUNT IV: SPOLIATION OF EVIDENCE

l23. Journey Lite through its agents and employees, willfully altered, destroyed,
delayed, hid, modified and/or spoiled (“spoiled") Plaintiffs records, billing records,
paperwork and related evidence.

124. Journey Lite through its agents and employees, spoiled evidence with knowledge
that there was pending or probable litigation involving Plaintiff.

125. Joumey Lite’s conduct was designed to disrupt Plaintiff`s potential and/or actual

case, and did in fact and proximately cause disruption, damages and harm to Plaintiff,

PRAYER FOR RELIEF
WHEREFORE, Plaintiff requests and seeks justice in the form and procedure of

a jury, verdict and judgment against Defendants on all claims for the following damages:

l. Past medical bills;

2. Future medical bills;

3. Lost income and benefits;

4. Lost future income and benefits;

5. Loss of ability to earn income;

6. Past pain and suffering;

7. Future pain and suffering;

8. Plaintiff seeks a finding that their injuries are catastrophic under Ohio Rev. Code
§2315.18;

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9. All incidental costs and expenses incurred as a result oftheir injuries;
10. The damages to their credit as a result oftheir injuries;

l l. Punitive damages;

12. Costs;

13. Attorneys’ fees;

14. lnterest;

15. All property loss;

16. All other reliefto which they are entitled including O.R.C. 1345.01
Based upon 1-17 itemization of damages, the damages sought exceed the minimum

jurisdictional amount of this Court and Plaintiff seeks in excess of $25,000.

 

ully Submit?ed, 7

/s/ De ra A. Nelson

Debra Nelson (# 0077538)
Attomey for Plaintiff

5247 Madison Pike
lndependence, KY 4105|
859-363-1900 Fax: 859-363-1444
dnelson@ericdeters.com

Mua_tm

Plaintiff makes a demand for a jury under all clai 2 /Z
/s/ Deb A. Nelson

Debra Nelson (# 0077538)

   

 

